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                                 UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

 IN RE:                                                           )
                                                                  )
 ITT EDUCATIONAL SERVICES, INC., et al. 1                         )        Case No. 16-07207-JMC-7A
                                                                  )
          Debtors.                                                )        Jointly Administered

                      PROPOSED AGENDA OF MATTERS SCHEDULED
                    FOR OMNIBUS HEARING ON JUNE 12, 2019 AT 1:30 P.M.

          Deborah J. Caruso, the chapter 7 trustee in this case (the “Trustee”), by counsel, pursuant

 to the Notice, Case Management and Administrative Procedures (the “Case Management

 Procedures”) approved by the Court on October 4, 2016 [Doc 220], submits this proposed

 agenda for the matters scheduled for the omnibus hearing on June 12, 2019 at 1:30 p.m.

 (prevailing Eastern time) (the “Hearing”). The Trustee anticipates the matters before the Court

 for the Hearing will take approximately one (1) hour.

 I.       DIAL-IN INFORMATION

          The dial-in telephone number for interested parties to participate in the Hearing by

 conference call is 1-800-920-7487; passcode 87599521#. Interested parties planning on

 participating in the Hearing by conference call shall notify the Court before the Hearing by

 contacting Heather Butler (heather_butler@insb.uscourts.gov or 317-229-3833) or Suzette

 Bewley (suzette_bewley@insb.uscourts.gov or 317-229-3862).

 II.      MATTERS SCHEDULED TO BE HEARD AT HEARING

 Lead Bankruptcy Case (Case No. 16-07207)

          1.       Notice of Invoice for Proskauer Rose LLP’s Fees and Expenses for the Period
                   March 1, 2019 through March 31, 2019 [Doc 3400], filed by Proskauer Rose
                   LLP.

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  The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
 ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
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               •   Status: No objections filed by the May 23, 2019 objection deadline.
                           As such, pursuant to the Court’s April 20, 2017 Order [Doc
                           1569], the Trustee has paid 80% of the requested fees and 100%
                           of the requested expenses. Not going forward at the Hearing.

       2.   Notice of Invoice for BGBC Partners, LLP’s Fees and Expenses for the Period of
            March 1, 2019 through March 31, 2019 [Doc 3401], filed by BGBC Partners,
            LLP.

               •   Status: No objections filed by the May 23, 2019 objection deadline.
                           As such, pursuant to the Court’s April 20, 2017 Order [Doc
                           1569], the Trustee has paid 80% of the requested fees and 100%
                           of the requested expenses. Not going forward at the Hearing.

       3.   Notice of Invoice for BGBC Partners, LLP’s Fees and Expenses for the Period of
            April 1, 2019 through April 30, 2019 [Doc 3402], filed by BGBC Partners, LLP.

               •   Status: No objections filed by the May 23, 2019 objection deadline.
                           As such, pursuant to the Court’s April 20, 2017 Order [Doc
                           1569], the Trustee has paid 80% of the requested fees and 100%
                           of the requested expenses. Not going forward at the Hearing.

       4.   Notice of Invoice for McKool Smith, P.C. Fees and Expenses for the Period of
            April 1, 2019 through April 30, 2019 with Respect to the Peaks AP [Doc 3413],
            filed by McKool Smith, P.C.

               •   Status: No objections filed by the May 29, 2019 objection deadline.
                           As such, pursuant to the Court’s April 20, 2017 Order [Doc
                           1569], the Trustee has paid 80% of the requested fees and 100%
                           of the requested expenses. Not going forward at the Hearing.

       5.   Trustee’s Objection to Claim No. 1948 Filed in Case No. 16-07207 by Relator
            Debra Leveski and Notice of Response Deadline [Doc 3385], filed by the Trustee.

               •   Status: The parties have informally resolved this matter. Such agreed
                           upon resolution has been documented in a proposed order that
                           will be submitted to the Court. Going forward at the Hearing.

       6.   Final Fee Application of Rossman Saxe, P.C. for Reimbursement of Expenses for
            Services Rendered as Counsel for the Trustee for the Period February 2, 2018
            through May 8, 2019 [Doc 3397], filed by Rossman Saxe, P.C.

               •   Status: No objections filed by the June 5, 2019 objection deadline.
                           Going forward at the Hearing.



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       7.   Trustee’s 16th Omnibus Motion to Compromise and Settle Avoidance Claims in
            the Gross Amount of $50,000.01 or More [Doc 3405], filed by the Trustee.

               •   Status: No objections filed by the June 5, 2019 objection deadline.
                           Going forward at the Hearing.

       8.   Trustee’s Motion to Compromise and Settle Adversary Proceeding No. 17-50101
            [Doc 3391], filed by the Trustee.

               •   Objection [Doc 3426], filed by Patrick Blair.

               •   Objection to The Trustee’s Motion to Compromise and Settle Adversary
                   Proceeding No. 17-50101 [Doc 3435], filed by Dan C. Boss.

               •   Michael Gregory Serra First Amended Objection to the Settlement [Doc
                   3438], filed by Michael Gregory Serra.

               •   Creditor’s Notice of Objection to Compromise and Settle Adversary
                   Proceeding No. 17-50101 [Doc 3440], filed by Gertrude C. Nelson.

               •   Objection [Doc 3444], filed by Phil Bystry.

               •   Status: No other objections filed by or after the June 5, 2019 objection
                           deadline. Going forward at the Hearing.

       9.   Continued hearing on Motion to Confirm Absence of Stay and for Reconsideration
            [Doc 356], filed by the Commonwealth of Massachusetts and the State of New
            Mexico.

               •   Trustee’s Objection to Motion to Confirm Absence of Stay and for
                   Reconsideration [Doc 504], filed by the Trustee.

               •   Response to Trustee’s Objection to Motion to Confirm Absence of Stay
                   and for Reconsideration [Doc 543], filed by the Commonwealth of
                   Massachusetts and the State of New Mexico.

               •   Status: The Trustee will provide an update to the Court at the Hearing
                           regarding the proposed continuation of the stay on a consensual
                           basis to September 30, 2019. The Trustee will request on the
                           record that this matter be continued to the omnibus hearing on
                           September 11, 2019 at 1:30 p.m. If granted, not going forward at
                           the Hearing.




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 Caruso v. Consumer Financial Protection Bureau, et al. (AP No. 16-50318)

       1.     Continued final hearing on the Trustee’s Motion to Stay, or in the Alternative, for
              Injunctive Relief Enjoining, Prosecution of Pending Litigation Against Debtors
              [Doc 3], filed by the Trustee.

                  •   Objection to Trustee’s Motion to Stay, or in the Alternative, for Injunctive
                      Relief Enjoining, Prosecution of Pending Litigation Against Debtors [Doc
                      19], filed by the Attorney General for the Commonwealth of
                      Massachusetts and the State of New Mexico.

                  •   Consumer Financial Protection Bureau’s Objection to Trustee’s Motion to
                      Stay, on in the Alternative, for Injunctive Relief Enjoining, Prosecution of
                      Pending Litigation Against Debtors [Doc 21], filed by the Consumer
                      Financial Protection Bureau.

                  •   Opposition of Securities and Exchange Commission to Trustee’s Motion to
                      Stay, or in the Alternative, for Injunctive Relief Enjoining, Prosecution of
                      Pending Litigation Against Debtors [Doc 22], filed by the United States
                      Securities and Exchange Commission.

                  •   Trustee’s Reply in Support of Trustee’s Motion to Stay, or in the
                      Alternative, for Injunctive Relief Enjoining, Prosecution of Pending
                      Litigation Against Debtors [Doc 23], filed by the Trustee.

                  •   Consumer Financial Protection Bureau’s Supplemental Objection to
                      Trustee’s Motion to Stay [Doc 76], filed by the Consumer Financial
                      Protection Bureau.

                  •   Supplemental Objection to Trustee’s Motion to Stay, or in the Alternative,
                      for Injunctive Relief Enjoining, Prosecution of Pending Litigation Against
                      Debtors [Doc 84], filed by the Attorney General for the Commonwealth of
                      Massachusetts.

                  •   Trustee’s Supplement to Reply in Support of Trustee’s Motion to Stay, or
                      in the Alternative, for Injunctive Relief Enjoining, Prosecution of Pending
                      Litigation Against Debtors [Doc 87] filed by the Trustee.

                  •   Agreed Entry Resolving Trustee’s Motion to Stay, or in the Alternative, for
                      Injunctive Relief Enjoining, Prosecution of Pending Litigation Against
                      Debtors with Respect to Consumer Financial Protection Bureau [Doc 98],
                      filed by the Trustee and the Consumer Financial Protection Bureau.

                  •   Status: The Trustee will provide an update to the Court at the Hearing
                              regarding the proposed continuation of the stay on a consensual


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                                       basis to September 30, 2019. The Trustee will request on the
                                       record that this matter be continued to the omnibus hearing
                                       on September 11, 2019 at 1:30 p.m. If granted, not going forward
                                       at the Hearing.

 III.     NOTICE

          Pursuant to the Case Management Procedures, the Trustee will serve this proposed

 hearing agenda on the Core Group (as defined in the Case Management Procedures) and each

 entity who has filed and served a court filing set to be heard at the Hearing, with the exception of

 Patrick Blair, Dan C. Boss, Michael Gregory Serra, Gertrude C. Nelson and Phil Bystry. 2

                                                                 Respectfully submitted,
                                                                 RUBIN & LEVIN, P.C.
                                                            By: /s/ Meredith R. Theisen
                                                                    Meredith R. Theisen
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                                                                 John C. Hoard (Atty. No. 8024-49)
                                                                 James E. Rossow Jr. (Atty. No. 21063-29)
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                                                                 Attorneys for Deborah J. Caruso, Trustee




 2
   Counsel for the Trustee provided notice of the Hearing and the dial-in information to the following: (i) Patrick
 Blair via letter dated May 24, 2019; (ii) Michael Gregory Serra via letter dated May 28, 2019; (iii) Dan C. Boss via
 letter dated June 4, 2019; (iv) Gertrude C. Nelson via letter dated June 7, 2019 sent overnight delivery; and (v) Phil
 Bystry via voicemail on June 11, 2019.


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                                CERTIFICATE OF SERVICE

         I hereby certify that on June 11, 2019, a copy of the foregoing Proposed Agenda of
 Matters Scheduled for Omnibus Hearing on June 12, 2019 at 1:30 p.m. was filed electronically.
 Pursuant to Section IV.C.3(a) of the Case Management Procedures, notice of this filing will be
 sent to the following parties through the Court’s Electronic Case Filing System. Parties may
 access this filing through the Court’s system.

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        I further certify that on June 11, 2019, pursuant to Section IV.C.3(c) of the Case
  Management Procedures, a copy of the foregoing Proposed Agenda of Matters Scheduled for
  Omnibus Hearing on June 12, 2019 at 1:30 p.m. was emailed to the following:

  Arlington ISD/Richardson ISD: Eboney Cobb at ecobb@pbfcm.com
  CEC Red Run, LLC: Alan M. Grochal at agrochal@tydingslaw.com
  SWRE Deal V Building, LLC: Paul Weiser at pweiser@buchalter.com
  Tarrant County/Dallas County: Elizabeth Weller at dallas.bankruptcy@publicans.com
  Northwest Natural Gas Company: Ashlee Minty at Ashlee.Minty@nwnatural.com
  Solar Drive Business, LLC: Chris W. Halling at challing@hallingmeza.com
  Market-Turk Company: Jordan A. Lavinsky at jlavinsky@hansonbridgett.com
  Taxing Authority for Harris County, Texas: John P. Dillman at houston_bankruptcy@lgbs.com
  Texas Comptroller of Public Accounts: Rachel Obaldo at rachel.obaldo@oag.texas.gov
  Clear Creek Independent School District: Carl O. Sandin at csandin@pbfcm.com
  Synchrony Bank: Recovery Management Systems Corporation at claims@recoverycorp.com
  Bexar County: Don Stecker at sanantonio.bankruptcy@publicans.com
  SWRE Deal V Building, LLC: Nancy K. Swift at nswift@buchalter.com
  TN Dept. of Revenue: Michael Willey at michael.willey@ag.tn.gov
  Florida Department of Education: Benman D. Szeto at benman.szeto@fldoe.org
  Last Second Media, Inc.: T. Todd Egland at tegland@beldenblaine.com
  Hung Duong: Kevin Schwin at kevin@schwinlaw.com
  Travis County: Kay D. Brock at kay.brock@traviscountytx.gov
  Able Building Maintenance: Scott D. Fink at bronationalecf@weltman.com
  Marathon Ventures, LLC: Daniel M. Karger at kargerlaw@gmail.com
  Oklahoma County Treasurer: Tammy Jones at tammy.jones@oklahomacounty.org
  JM Partners LLC: John Marshall at jmarshall@jmpartnersllc.com

                                                                       /s/ Meredith R. Theisen
                                                                       Meredith R. Theisen

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